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                                          Certificate Number: 05781-ILN-DE-037390436
                                          Bankruptcy Case Number: 23-03266


                                                         05781-ILN-DE-037390436




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on April 30, 2023, at 9:25 o'clock PM PDT, Felicia Pittman
completed a course on personal financial management given by internet by Sage
Personal Finance, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the Northern
District of Illinois.




Date:   April 30, 2023                    By:      /s/Allison M Geving


                                          Name: Allison M Geving


                                          Title:   President
